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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION


    JENNIFER VANDERSTOK et al.,

           Plaintiffs,                                     Case No. 4:22-cv-00691-O

      v.

    PAMELA BONDI, 1 in her official capacity as
    Attorney General of the United States et al.,

           Defendants.


                                        JOINT STATUS REPORT

            1.       The Court’s Order dated May 12, 2025 (ECF No. 287) directed the parties to “file a

joint status report . . . detailing the remaining issues before the Court, and proposing a timeline for

resolution for those issues.” In accordance with the Court’s Order, the parties respectfully file this

joint status report.

            2.       This case involves an Administrative Procedure Act challenge to a rule issued by the

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) pertaining to firearms, 87 Fed. Reg.

24,652 (Apr. 26, 2022) (codified at 24 C.F.R pts. 447, 478, and 479).

            3.       The President issued an Executive Order on February 7, 2025, titled Protecting Second

Amendment Rights. Exec. Order No. 14,206, 90 Fed. Reg. 9503 (Feb. 12, 2025). Among other things,

the Order directs the Attorney General to “examine” various “actions of executive departments and

agencies” to “assess any ongoing infringements of the Second Amendment rights of our citizens, and

present a proposed plan of action to the President, through the Domestic Policy Advisor, to protect



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 Pursuant to Federal Rule of Civil Procedure 25(d)(1), Pamela Bondi is automatically substituted for
her predecessor, Merrick Garland, Attorney General of the United States.
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the Second Amendment rights of all Americans.” Id. § 2(a). The Order specifically directs the

Attorney General, as part of that process, to review all “[r]ules promulgated by the Department of

Justice, by [ATF], from January 2021 through January 2025, pertaining to firearms and/or Federal

firearms licensees.” Id. § 2(b)(ii). In addition, the order directs the Attorney General to review “[t]he

positions taken by the United States in any and all ongoing and potential litigation that affects or could

affect the ability of Americans to exercise their Second Amendment rights.” Id. § 2(b)(v). The

Attorney General’s review process is currently ongoing.

        4.      Because this case involves a challenge to a “[r]ule[] promulgated by the Department of

Justice, including by [ATF], from January 2021 through January 2025 pertaining to firearms,” the

challenged rule falls within the purview of the Attorney General’s review process. All but one of the

parties therefore respectfully request that the Court stay this case for sixty (60) days to allow additional

time for the Attorney General’s review. The requesting parties further propose that this Court require

the parties to file another joint status report at the end of that stay in sixty (60) days to provide this

Court with an update and to propose subsequent steps necessary to resolve this matter. Intervenor

Plaintiff Defense Distributed does not join the stay request and intends to continue litigating against

all challenged aspects of the rule that the Defendants will not cease enforcing against Defense

Distributed even during the review process.

DATED: May 27, 2025                                       Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       On May 27, 2025, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Northern District of Texas, using the electronic case filing system of the

court. I hereby certify that I have served all parties electronically or by another manner authorized by

Federal Rule of Civil Procedure 5(b)(2).

                                                                       /s/ Jeremy S.B. Newman




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